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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                           Criminal No. 21-108(2) (PAM/TNL)

 UNITED STATES OF AMERICA,                    )
                                              )
                      Plaintiff,              )
                                              )       UNITED STATES’ POSITION WITH
               v.                             )       RESPECT TO SENTENCING
                                              )
 TOU THAO,                                    )
                                              )
                      Defendant.              )
                                              )


       The United States of America, by and through undersigned counsel, respectfully

submits its position with respect to the sentencing of the defendant Tou Thao. The United

States recommends a sentence that reflects both the gravity of the defendant’s offense and

his relative culpability compared to his co-defendants. More specifically, the United States

requests a sentence that is less than co-defendant Chauvin’s sentence, which has not yet been

ordered but pursuant to a Federal Rule of Criminal Procedure 11(c)(1)(C) agreement will

fall between 240 to 300 months’ imprisonment, and significantly more than the Guidelines

range applicable to co-defendant Lane, which is a range of 63 to 78 months’ imprisonment.

Such a sentence is sufficient, but not greater than necessary, to comply with the goals of 18

U.S.C. § 3553(a).

       Several factors weigh heavily in favor of a significant prison sentence and against a

significant further downward variance. First, the offense itself resulted in the death of Mr.

Floyd, and thus caused the gravest of harms. The fact that the defendant was convicted of

failing to act to stop Chauvin’s unreasonable force does not diminish the defendant’s
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responsibility for Mr. Floyd’s death—Mr. Floyd was in the defendant’s custody and care,

and the defendant knew he had a duty to protect Mr. Floyd. Furthermore, the defendant had

the knowledge, opportunity, information, and time required to recognize the need for

action—to stop the unreasonable force and to provide medical aid—and yet he failed to act.

The defendant’s lack of acceptance of responsibility, including his (at-times incredible) trial

testimony merits a significant sentence. Finally, a significant sentence is needed to promote

respect for the law and to deter other police officers from standing by as their fellow officers

commit crimes. Such a significant sentence would not result in unwarranted sentencing

disparities.

I.     PROCEDURAL HISTORY

       On February 24, 2022, following a 21-day trial, a federal jury convicted the

defendant, former Minneapolis Police Department (“MPD”) officer Tou Thao, of two counts

of violating 18 U.S.C. § 242. First, the jury found that the defendant willfully deprived Mr.

Floyd of the right to be free from excessive force when he failed to intervene in the unlawful

force used by former Officer Derek Chauvin. Second, the jury found that the defendant

willfully deprived Mr. Floyd of the right to be free from a police officer’s deliberate

indifference to his serious medical needs, by seeing Mr. Floyd lying on the ground in clear

need of medical care, and willfully failing to aid him. The jury found that these offenses

resulted in bodily injury to and the death of Mr. Floyd.

II.    THE APPLICABLE GUIDELINES

       The United States has reviewed the Presentence Investigation Report (“PSR”)

prepared by the U.S. Probation Office. The United States has no objections to the PSR and


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agrees that the advisory Guidelines range is life imprisonment. ECF No. 371 ¶ 111. The

United States anticipates that the defendant will make several objections to both the

application of the Guidelines and the factual statements contained in the PSR and has

addressed those anticipated objections below.

       A.     The Base Offense Level for Count Two Correctly Utilizes the Second-
              Degree Murder Guidelines.

       The United States anticipates that the defendant will object to the base offense level.

Specifically, he will object to the application of a cross reference for Second-Degree Murder,

arguing that the Court should use the same Guidelines cross reference—U.S.S.G. § 2A1.4

(Involuntary Manslaughter)—for both Counts 2 and 3 given that they arose from a “single

course of conduct.” ECF No. 371 at A.6.

       The defendant’s argument that the cross reference must be the same for both counts

ignores that Count 2 and Count 3 are two different crimes with two different sets of elements.

It is often the case that two or more criminal charges result from a “single course of conduct”

where the same Guidelines section is used; nonetheless, each crime requires the satisfaction

of different elements, and the application of the Guidelines results in a different adjusted

offense level. For example, a defendant can be charged with both receipt and possession of

child pornography from a single course of conduct committed in a matter of minutes—the

defendant downloads child pornography to a device and then possesses that material on his

device. The Guidelines section for both crimes is the same—Section 2G2.2—but the base

offense level is different for possession of child pornography (18) than it is for receipt of

child pornography (22). The Guidelines are calculated separately and then grouped.



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       Similarly, here, the defendant committed two separate crimes over the course of

minutes—violation of civil rights through failure to intervene, and violation of civil rights

through deliberate indifference. While generally the defendant’s conduct can be described

as a single course of conduct, his separate civil rights violations—failing to stop or attempt

to stop Chauvin from using excessive force and failing to provide Mr. Floyd with obviously

needed medical care—constitute two crimes with different elements. These crimes apply

the same Guideline, Section 2H1.1, but are assigned different base offense levels within that

Guideline and then grouped.

       The use of two different cross-references in the PSR for the two different offenses

alleged in Counts 2 and 3 comports with logic. The crime of violating a victim’s civil rights

through deliberate indifference does not require any excessive use of force, and therefore

does not require a cross-reference to the Guideline that applies to a use of force. The crime

of violating a victim’s civil rights through a failure to intervene does require a use of force,

and therefore invokes the more serious cross reference. The fact that the base offense level

is higher for failure to intervene is appropriate and provides a necessary distinction for

defendants like codefendant Lane, who was charged only with, and convicted only of, the

deliberate indifference violation charged in Count 3.

       For these reasons, the base offense level in this case is properly determined to be level

38.

       B.     The Adjustment for Acting Under Color of Law Applies.

       The United States anticipates that the defendant will object to the six-level increase

of his offense level for acting under color of law, pursuant to § 2H1.1(b)(1), arguing that it


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amounts to double counting because acting under color of law was an element of the offense.

ECF No. 371 at A.7. The question, however, is not whether the defendant was convicted of

a crime that included acting under color of law as an element, but rather whether his base

offense level accounts for his status as a police officer before the six-level color of law

adjustment is applied. Here, it does not.

       The defendant’s base offense level, § 2H1.1(a), applies both to offenses committed

under color of law and offenses such as hate crimes, where a defendant acts in a private

capacity. See § 2H1.1 Stat. Provisions (including § 242 and federal hate crime statutes 18

U.S.C. §§ 245(b), 247, 249 & 42 U.S.C. § 3631, among the statutes that correspond to this

guideline). The § 2H1.1 base offense level therefore does not account for the defendant’s

status as a police officer until the offense level is adjusted under § 2H1.1(b)(1). See United

States v. Volpe, 224 F.3d 72, 77 (2d Cir. 2000) (no double counting when the guideline

calculations for an officer convicted of an 18 U.S.C. § 242 violation included both an

adjustment under § 2H1.1(b)(1)(B) because the defendant acted under color of law and

§ 2A3.1(b)(3)(A) because the victim was in the custody, care, or control of the defendant);

United States v. Hickman, 766 F. App’x 240, 250-51 (6th Cir. 2019) (affirming the sentence

in a § 242 deliberate indifference and excessive force prosecution and holding that there was

no double counting where the defendant received a color-of-law adjustment under

§ 2H1.1(b)(1) because without it, his base offense level would not reflect that he had acted

under color of law); see also United States v. Webb, 214 F.3d 962, 965 (8th Cir. 2000) (no

double counting when the guideline calculations for an officer convicted of an 18 U.S.C.

§ 242 violation included a color of law adjustment under § 2H1.1(b)(1)(B) because the §


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2H1.1 adjustment can be independently justified on the basis that the defendant-officer was

a public official at the time of the offense).

       C.     The Defendant Is an Average Participant.

       The United States anticipates that the defendant will object to the PSR on the basis

that he should receive a four-level downward adjustment as a minor participant in the

offense. ECF No. 371 at A.7. Although it is the position of the United States that the

defendant does not qualify for a role reduction under these circumstances, the United States

nonetheless believes that the Court should consider the defendants’ relative culpability—

which is reflected in the United States’ sentencing recommendation—in fashioning its

overall sentence.

       The mitigating role adjustment applies to “a defendant who plays a part in committing

the offense that makes him substantially less culpable than the average participant in the

criminal activity.” § 3B1.2 cmt. n. 3(A). “‘[M]erely showing the defendant was less culpable

than other participants is not enough to entitle the defendant to the adjustment if the

defendant was deeply involved in the offense.’” United States v. Jones, 25 F.4th 1077, 1079

(8th Cir. 2022) (quoting United States v. Cubillos, 474 F.3d 1114, 1120 (8th Cir. 2007)).

Here, the defendant and Kueng were convicted of failing to intervene to stop Chauvin’s

excessive force and all three officers were convicted of deliberate indifference to Mr.

Floyd’s serious medical needs in violation of 18 U.S.C. § 242. The government expects the

defendant to claim that he is entitled to a minor role because he never touched Mr. Floyd.

       Whether or not the defendant touched Mr. Floyd has no bearing on the defendant’s

constitutional obligations. Under the Constitution, each officer bears equal responsibility to


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ensure that a person in custody is not deprived of the constitutional right to be free from

unreasonable force. Here, because each officer had an equivalent opportunity to observe the

event and an equivalent opportunity to intervene, a reduction for mitigating role would be

unwarranted. Moreover, this conclusion is unaffected by the fact that the defendant never

touched Mr. Floyd. It is common in failure-to-intervene cases—which by definition involve

inaction, rather than action—for the defendant not to have touched the victim.

       Similarly, with respect to deliberate indifference to Mr. Floyd’s medical needs, all

four defendants had an independent duty to render aid to Mr. Floyd, who died in their joint

custody.    According to the expert medical testimony at trial, had any one of them

repositioned Mr. Floyd onto his side when he was still breathing, Mr. Floyd would have

lived. Had any defendant performed CPR during the initial minutes after Mr. Floyd lost a

pulse, it may also have saved his life. The defendant is not substantially less culpable than

the other defendants.

       D.     Factual Objections

       The defendant has made a variety of factual objections to the PSR. 1 It appears that

the factual objections are not the sort that would affect his sentencing, and thus, the Court

need not rule on them pursuant to Rule 32 of the Federal Rules of Criminal Procedure.

III.   ARGUMENT

       The United States respectfully submits that a substantial sentence of imprisonment

that reflects defendant Thao’s relative culpability is appropriate. For parity purposes, this



1
 Notably, the defendant did not identify a single citation in support of any of his factual
objections.

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sentence should be less than former Officer Chauvin’s and substantially greater than the

guideline range applicable to former Officer Lane’s conduct.

      A.      The Legal Framework

      When fashioning an appropriate sentence for a defendant, the Court must first

consider the applicable guidelines range. See United States v. Hernandez, 518 F.3d 613,

616 (8th Cir. 2008). Although the sentencing guidelines are advisory, they are “the starting

point and the initial benchmark” for federal sentencing. Id. (quoting Gall v. United States,

552 U.S. 38, 49 (2007)).

      After determining the applicable guidelines range, the Court must consider the

sentencing factors enumerated in 18 U.S.C. § 3553(a). Section 3553 requires the court to

consider the need for the sentence imposed to accomplish certain purposes, including to: 1)

“reflect the seriousness of the offense”; 2) “promote respect for the law”; 3) “provide just

punishment for the offense”; and 4) “afford adequate deterrence to criminal conduct.” 18

U.S.C. § 3553(a)(2). Section 3553(a) also requires the court to consider “the nature and

circumstances of the offense and the history and characteristics of the defendant,” and to

“impose a sentence sufficient” to comply with the purposes outlined in the provision. 18

U.S.C. § 3553(a)-(a)(1).

      B.      The Appropriate Sentence

      The totality of the circumstances warrants a significant prison sentence.

           1. The Nature and Circumstances of the Offense

      The first § 3553(a) factor is the “nature and circumstances of the offense.” 18 U.S.C.

§ 3553(a)(1). The evidence adduced at trial proved that the defendant repeatedly failed to


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act despite knowing both that he had a duty to act and that the circumstances required him

to do so.

       There is no dispute that the defendant knew his legal obligations to those in his

custody and care. First, the defendant knew of his duty to intervene not only from his

training at MPD, but also based on common sense. T. Tr. at 3178. And, even more

specifically, he knew that if he saw a police officer using excessive force, he needed to stop

the force. See T. Tr. at 3177. In particular, the defendant knew—and admitted that he

knew—that an officer cannot continue to use force if a person is not resisting—and that is

true whether the person has a drug issue, a heart issue, excited delirium, or some other

medical issue. T. Tr. 3223.

       Second, the defendant was well aware of his duty to render medical aid—a duty that

can be satisfied either by an officer himself rendering the aid or ensuring that aid was being

provided by others. T. Tr. 3292. The defendant understood that, in all cases, and especially

in cases of suspected excited delirium, once a person is handcuffed and under control, the

person should be rolled on his side to avoid positional asphyxia. T. Tr. 3223.

       There is also no dispute that the defendant had the opportunity—in this case, the

meaningful opportunity—to intervene to stop Chauvin’s excessive force and to ensure

medical aid was rendered to Mr. Floyd. First, having worked with Chauvin for years, the

defendant was in an ideal position to communicate effectively with Chauvin to ensure that

Chauvin discontinued his use of force. T. Tr. 3109. Second, the defendant’s physical

position allowed him to stand back and observe the entire situation, including the positions

of his partners and Mr. Floyd over the course of many minutes, from a bird’s eye view—a


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fact that is made clear on the videos of the events. As the Court will recall, the restraint of

Mr. Floyd continued for over six minutes before the defendant had any significant

interactions with the bystanders. Thus, he was able to focus on the events occurring right in

front of him. And, even once he engaged with the bystanders, they provided him with a

play-by-play of the events unfolding before them.

       Armed with a full understanding of his duties and with a clear opportunity to act, the

defendant chose to ignore the facts right in front of him. He ignored his own immediate

observations that Mr. Floyd was suffering from a medical condition, whether by virtue of

drug use or excited delirium. See Gov. T. Ex. 9A at 5; T. Tr. 3215 (it was “obvious” Mr.

Floyd was under the influence of drugs even as the defendant was just walking up to the

situation). He ignored Mr. Floyd telling him directly that it was the knee on his neck that

was causing him to not be able to breathe. See Gov. T. Ex. 9A at 6. He ignored both his

own eyes and ears, as well as various bystanders telling him about Mr. Floyd: emphasizing

that Mr. Floyd was not resisting, had stopped talking, was passing out, and was not

responsive; observing that Chauvin was stopping Mr. Floyd’s breathing; and requesting that

the officers check Mr. Floyd’s pulse. See Gov. T. Ex. 9A at 8-10.

       Not only did the defendant ignore the facts in front of him, the defendant responded

with a total lack of diligence and care—or in the words of bystander A.F., he was “kind of

just blowing us off . . . .” T. Tr. 2598. For example, bystander D.W. told the defendant that

Mr. Floyd was not doing anything (i.e., was not resisting) and questioned how long the

officers needed to hold Mr. Floyd down. See Gov. T. Ex. 9A at 8. The defendant responded,

“This is why you don’t do drugs kids.” Id.


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       Finally, differentiating this situation from other situations involving excessive

force—which often occurs quickly, such as when an officer delivers an unnecessary punch,

or fires an unnecessary shot—the defendant here had the benefit of time. The defendant was

not forced to make a split-second decision; he had more than nine minutes. Despite those

long minutes, the defendant did nothing, and because of that a person in his custody and care

died. Thus, the nature and circumstances of the offense merit a significant sentence.

          2. The History and Characteristics of the Defendant

       Section 3553(a)(1) also directs courts to consider “the history and characteristics of

defendant.” One of the most salient features of the defendant’s history is that he served as

a law enforcement officer for more than eight years. See Gov. T. Ex. 55. Here, and in color-

of-law cases generally, this characteristic is aggravating. See United States v. Thames, 214

F.3d 608, 614 (5th Cir. 2000) (“A defendant’s status as a law enforcement officer is often

times more akin to an aggravating as opposed to a mitigating sentencing factor, as criminal

conduct by a police officer constitutes an abuse of a public position.”). The defendant was

a long-serving officer who readily agreed that he was responsible for those in his custody

and who specifically knew both of his duty to intervene and his duty to render medical aid

to those in his custody and care—yet he failed to act.

          3. The Seriousness of the Defendant’s Offenses, Promotion of Respect for
             the Law, and Just Punishment
       Section 3553(a) also directs the sentencing court to consider the need for the sentence

“to reflect the seriousness of the offense, promote respect for the law, and to provide for a

just punishment.” 18 U.S.C. § 3553(a)(2)(A). A significant sentence appropriately captures

the seriousness of the defendant’s choices, addresses the excuses he made to justify his lack

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of action, and provides just punishment for the impact of his crimes on the victim, the

victim’s family, and the larger community.

       As described above, no harm can be greater than the harm perpetrated here: Mr. Floyd

died as a result of the defendant’s inactions. However, it is not just that a death occurred

that makes it so serious. It is also that the death was utterly unnecessary and avoidable, and

occurred as a result of the defendant’s failure to do the most basic of his duties—to exercise

care for someone in his custody. 2 Mr. Floyd was handcuffed, could not get himself medical

care, and could not defend against unlawful force. The defendant also failed in yet another

of his basic duties—stopping a crime being committed right in front of him. By failing to

stop a crime being committed by a fellow officer in his presence, he applied a different

standard than he applied over his long career when a non-officer committed a crime. The

application of such a double standard damages the public’s perception of law enforcement.

Thus, the defendant’s offenses are offenses both against the individual victim and against

the criminal justice system itself because this type of criminal conduct by a law enforcement

officer undermines public trust in our system of justice.

       Finally, despite the defendant’s knowledge of his duties, and his clear failure to act,

the defendant did not accept responsibility for his inactions and in doing so demonstrated a



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  Numerous courts have held that crimes committed by law enforcement officers are ones
that courts should treat more seriously, not less seriously, than other types of criminal acts.
See Thames, 214 F.3d at 614; see also United States v. McQueen, 727 F.3d 1144, 1157 (11th
Cir. 2013) (reversing a below-guidelines sentence in an excessive force case as “a clear error
of judgment” because such a crime is a “particularly serious offense”); United States v.
LaVallee, 439 F.3d 670, 708 (10th Cir. 2006) (“[I]n many instances, committing a crime
while acting under color of law will result in a higher sentence – as it did in this case – rather
than a lower sentence.”).

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disrespect for the law. The defendant took the stand and unsuccessfully attempted to excuse

and justify his behavior. For example, he argued that he believed that Mr. Floyd was

suffering from excited delirium, and thus Mr. Floyd had to be restrained for his own safety

as a result of “the protocol,” namely, that a person suffering excited delirium must be

restrained until medical personnel arrive to sedate a subject who is extremely agitated. T.

Tr. 3138, 3217-23. The jury rightly rejected this excuse, given its absurdity in light of the

most basic of facts: the defendant knew that if a person is not agitated, he does not need to

be sedated (T. Tr. 3226), and the defendant knew that Mr. Floyd had stopped moving (T. Tr.

3230), stopped speaking (T. Tr. 3251), and lost consciousness (T. Tr. 3231). Mr. Floyd was

therefore not agitated. In fact, “the protocol”—which the defendant well knew—was to

rotate a person onto his side once the person is no longer resisting; and a person is certainly

no longer resisting when he is not moving at all and unconscious.

       The jury also correctly rejected the remainder of the defendant’s excuses. For

example, the defendant attempted to justify Chauvin’s continued excessive force by arguing

that a subject could suddenly wake up and become violent. T. Tr. 3220. Again, such a claim

was belied by his own admissions—you can monitor a subject in case he wakes up,

“potentially you could be in contact, but not much weight”—but you cannot use force just

because a subject might wake up. T. Tr. 3122-23. The defendant even went so far as to

attempt to excuse his behavior by explaining that around the time of Mr. Floyd’s death, there

were a number of people stating that they could not breathe during interactions with police

following the death of Eric Garner, and so he “wouldn’t know if they were being honest or

not.” T. Tr. 3122-23, 3201. Of course, on cross-examination such an excuse did not hold


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water. Instead, the defendant admitted that he knew it would be inappropriate to disregard

a person in his custody saying that he could not breathe, whether or not others had made

similar, untruthful statements in the past. T. Tr. 3203.

       The defendant’s attempts to justify his behavior demonstrate a clear disrespect for the

law. Though the United States has not sought an enhancement for obstruction of justice, the

defendant’s testimony came close to obstruction and certainly demonstrates more than a

simple lack of acceptance of responsibility.

          4. Deterrence and Protection of the Public from Further Crimes

       Protecting the public and deterring additional criminal conduct is the fourth factor

courts are directed to consider under Section 3553(a)(2)(B)-(C). This Court would ensure

public safety by sentencing the defendant to a significant sentence of imprisonment. The

defendant will never again serve as a law enforcement officer, and thus, the need for a

sentence to protect the public against future, similar crimes by this defendant is not at issue

here. However, “Congress specifically made general deterrence an appropriate [sentencing]

consideration under [S]ection 3553(a)(2)(B),” and the Eighth Circuit has “described it as

‘one of the key purposes of sentencing.’” Ferguson v. United States, 623 F.3d 627, 632 (8th

Cir. 2010) (emphasis added) (quoting United States v. Medearis, 451 F.3d 918, 920 (8th Cir.

2006)). A significant sentence will serve as a reminder to other officers that although they

undoubtedly have a difficult job, they cannot ignore a crime happening in front of them,

especially when it is perpetrated by their fellow officer. A significant sentence will thus

serve to protect the American public by deterring additional crimes and promoting respect

for the law.


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          5. Unwarranted Sentencing Disparities

       There is no question that Chauvin was the most culpable officer on scene, as it was

his excessive force that necessitated his fellow officers’ intervention and the need for

medical treatment. Given this, the United States recommends that the Court sentence the

defendant to a term of imprisonment that is less than the 300-month sentence it has requested

for Chauvin. That said, the defendant’s inaction merits a significant sentence. A significant

term of imprisonment would not result in unwarranted sentencing disparities either among

the co-defendants in this case or defendants sentenced for similar crimes.

       Section 242 sentences involving officers’ failures to intervene or deliberate

indifference are driven by the specific facts of each case and do not lead to ready

comparisons. That said, in the most similar case to the defendant’s, a law enforcement

officer stood by and watched while other officers kicked a handcuffed suspect in the head

and upper body and punched him in the face, ultimately resulting in the suspect’s death. See

United States v. Pagan-Ferrer, 736 F.3d 573 (1st Cir. 2013). Following convictions at trial

for failing to intervene, making false statements, and engaging in obstruction, the officer

was sentenced to 360 months’ imprisonment. The officer’s sentence is appropriately higher

than the sentence the Government seeks for the defendant because that officer was the

supervisor of the officers who engaged in the excessive force.

       Other cases for comparison involve a failure to intervene where the excessive force

resulted in bodily injury only; the defendant’s sentence should not come close to the shorter

sentences in those cases because death resulted here. For example, in related cases United

States v. Broussard, 882 F.3d 104 (5th Cir. 2018) and United States v. Hatley, 717 F. App’x


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457 (5th Cir. 2018), two corrections officers failed to intervene when other officers beat,

kicked, and punched an inmate for about ten minutes. Following guilty pleas, Broussard

was sentenced to 54 months’ imprisonment, and Hatley was sentenced to 36 months’

imprisonment. The Fifth Circuit upheld the sentences, emphasizing in Broussard that the

officer was criminally liable for the underlying excessive force—in that case, the aggravated

assault—and that he was not a minor participant simply because his crime was one of

omission. Similarly, in United States v. Daniels, 281 F.3d 168 (5th Cir. 2002), an officer

who failed to intervene when fellow officers kicked, punched, and struck a restrained inmate

in the head, resulting in the inmate’s bodily injury, was sentenced to 87 months’

imprisonment.

        A recent excessive force case in this District is also instructive. In United States v.

Palkowitsch, -- F.4th --, 2022 WL 2080162 (8th Cir. Jun. 10, 2022), a law enforcement

officer was sentenced to 72 months’ imprisonment after he was convicted at trial of violating

18 U.S.C. § 242 for kicking a man three times as the man was being bitten and held by a

police canine. The man sustained serious injuries.

        Because the jury concluded that the defendant’s crimes resulted in Mr. Floyd’s death,

the defendant’s sentence should be anywhere near as low as any of these sentences—54, 36,

72, or 87 months of imprisonment—where the crime resulted solely in bodily injury.

Considering the Section 3553(a) factors, his conduct is more in line with the Pagan-Ferrer

case.




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IV.   CONCLUSION

      WHEREFORE, the United States respectfully asks this Honorable Court to impose a

sentence of less than 300 months’ imprisonment, and significantly more than the guidelines

range applicable to co-defendant Lane.


Dated: June 30, 2022                         Respectfully submitted,


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